Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


 DOUGLAS LONGHINI, Individually,          :
                                          :
               Plaintiff,                 :
                                          :
 vs.                                      :               Case No.
                                          :
 SUNSHINE DADE INVESTMENTS LLC, a         :
 Florida Limited Liability Company; BELGA :
 ENTERPRISES, INC.,                       :
                                          :
               Defendant.                 :
 _______________________________________/ :


                                          COMPLAINT
                                   (Injunctive Relief Demanded)


        Plaintiff, DOUG LONGHINI, Individually, and on behalf of all other mobility impaired

 individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendants,

 SUNSHINE DADE INVESTMENTS LLC, a Florida Limited Liability Company and BELGA

 ENTERPRISES, INC., a Florida Corporation, (sometimes referred to as “Defendants”), for

 Injunctive Relief, attorney’s fees, litigation expenses, and costs pursuant to the Americans with

 Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

 1.     Plaintiff, Doug Longhini, is an individual residing in Miami, Florida, in the County of

        Miami-Dade, whose address is 5205 SW 141st Avenue, Miami, FL 33175.

 2.     Defendants’ properties, Shell Gas Station and convenience store are located at 2230 W

        68th Street, Hialeah, FL 33016, in the County of Miami-Dade.
Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 2 of 10




 3.    Venue is properly located in the Southern District of Florida because venue lies in the

       judicial district of the property situs. The Defendant’s property is located in and does

       business within this judicial district.

 4.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

       jurisdiction over actions which arise from the Defendant’s violations of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

       and § 2202.

 5.    Plaintiff Douglas Longhini is a Florida resident, is sui juris, and qualifies as an individual

       with disabilities as defined by the ADA. Douglas Longhini has cerebral palsy and

       requires the use of a wheelchair to ambulate. Mr. Longhini has very limited use of his

       hands and cannot operate any mechanisms which require tight grasping or twisting of the

       wrist.

 6.    Mr. Longhini regularly visits the City of Hialeah to see his friends to eat, to shop, to

       participate in the culture activities the city offers, and in conjunction with his activities as

       an advocate for disabled rights. Mr. Longhini has been to the subject property on several

       occasions, including on April 8, 2021, when he went to the subject property (gas station)

       including the convenient store operated by tenant, Belga Enterprises, Inc., to shop and to

       test for ADA compliance, together with an ADA expert. Mr. Longhini intends to return

       to the property in the near future, as a customer, and to confirm that the subject property

       and its tenant spaces are brought into compliance with the ADA.




                                                  2
Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 3 of 10




 7.    Defendant, Sunshine Dade Investments owns the Shell Gas Station, and the Defendant

       Belga Enterprises, Inc., leases the property where the convenience store is located, from

       Defendant, Sunshine Dade Investments LLC.

 8.    Defendants’ own, lease, lease to, or operate a place of public accommodation as defined

       by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

       Defendants are responsible for complying with the obligations of the ADA. The place of

       public accommodation that the Defendants own, operate, lease or lease to is known as

       Shell Gas Station (owned by Defendant Sunshine Dade Investments LLC), and is located

       at 2230 W 68th Street, Hialeah, FL 33016, and the leased premises described herein

       occupied by Belga Enterprises, Inc.

 9.    DOUG LONGHINI has a realistic, credible, existing and continuing threat of

       discrimination from the Defendants non-compliance with the ADA with respect to the

       property as described but not necessarily limited to the allegations in paragraph 11 of this

       complaint.   Plaintiff has reasonable grounds to believe that he will continue to be

       subjected to discrimination in violation of the ADA by the Defendant. Doug Longhini

       desires to visit the Shell Gas Station and the tenants convenience store located therein,

       not only to avail himself of the goods and services available at the property, but to assure

       himself that this property is in compliance with the ADA so that he and others similarly

       situated will have full and equal enjoyment of the property without fear of discrimination.

 10.   The Defendants have discriminated against the individual Plaintiff by denying him access

       to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

       and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.



                                                3
Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 4 of 10




 11.   The Defendants have discriminated, and are continuing to discriminate, against the

       Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by

       January 26, 1992 (or January 26, 1993, if Defendants have 10 or fewer employees and

       gross receipts of $500,000 or less). A preliminary inspection of the Shell Gas Station and

       the convenience store operated by tenant, Belga Enterprises has shown that violations

       exist. These violations that Doug Longhini has personally encountered or observed

       include, but are not limited to:

              Applicable only to Defendant, Sunshine Dade Investments LLC
              Parking

          a) The plaintiff had difficulty exiting the vehicle, as designated accessible parking
             spaces are located on an excessive slope. Violation: There are accessible parking
             spaces located on an excessive slope violating Section 4.6.3 of the ADAAG and
             Section 502.4 of the 2010 ADA Standards, whose resolution is readily achievable.

          b) The plaintiff had difficulty exiting the vehicle, as designated accessible parking
             space access aisles are located on an excessive slope. Violation: There are
             accessible parking space access aisles located on an excessive slope violating
             Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA Standards,
             whose resolution is readily achievable.


              Entrance Access and Path of Travel

          c) The plaintiff had difficulty traversing the path of travel, as it was not continuous
             and accessible. Violation: There are inaccessible routes between sections of the
             facility. These are violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5
             of the ADAAG and Sections 206.2.2, 303, 402 and 403, whose resolution is
             readily achievable.

          d) The plaintiff had difficulty traversing the path of travel, as there are cross slopes
             in excess of 2%. Violation: The path of travel contains excessive cross slopes in
             violation of Section 4.3.7 of the ADAAG and Section 403.3 of the 2010 ADA
             Standards, whose resolution is readily achievable.

          e) The plaintiff could not enter the store without assistance, as the required level
             landing is not provided. Violation: A level landing that is 60 inches minimum
             perpendicular to the doorway is not provided at accessible entrances violating

                                               4
Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 5 of 10




             Section 4.13.6 and Figure 25(a) of the ADAAG and Section 404.2.4 of the 2010
             ADA Standards, whose resolution is readily achievable.

          f) The plaintiff had difficulty traversing the path of travel, as it is not continuous and
             accessible. Violation: There are inaccessible routes from the public sidewalk and
             transportation stop. These are violations of the requirements in Sections 4.3.2(1),
             4.3.8, 4.5.1, and 4.5.2 of the ADAAG and Sections 206.2.1, 302.1, 303, and 402.2
             of the 2010 ADA Standards, whose resolution is readily achievable.

          g) The plaintiff had difficulty traversing the path of travel due to abrupt changes in
             level. Violation: There are changes in levels of greater than ½ inch, violating
             Sections 4.3.8 and 4.5.2 of the ADAAG and Section 303 of the 2010 ADA
             Standards, whose resolution is readily achievable.

          h) The plaintiff could not traverse through areas of the store, as the required 36” path
             is not provided. Violation: A continuous path of travel connecting all essential
             elements of the store is not provided, violating Sections 4.2.1, 4.3.2(2), & 4.3.3 of
             the ADAAG and Sections 206.2.2 & 403.5.1 of the 2010 ADA Standards, whose
             resolution is readily achievable.

             Public Restrooms – Applicable to Defendant’s Sunshine Dade Investments
             LLC and Belga Enterprises, Inc.

          i) There are permanently designated interior spaces without proper signage,
             violating Section 4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703
             of the 2010 ADA Standards, whose resolution is readily achievable.

          j) The plaintiff had difficulty using the doorknob and the locking mechanism on the
             restroom door without assistance, as they require tight grasping. Violation: The
             restroom door has non-compliant hardware for disabled patrons, violating
             Sections 4.13.9 & 4.27.4 of the ADAAG and Sections 309.4 & 404.2.7 of the
             2010 ADA Standards, whose resolution is readily achievable.

          k) The plaintiff could not use the restroom without assistance, as the required clear
             floor space was not provided due to the dimensions. Violation: Compliant clear
             floor space is not provided in the restroom, violating Sections 4.2.3 and 4.22.3 of
             the ADAAG and Sections 304.3 and 603.2 of the 2010 ADA Standards, whose
             resolution is readily achievable.

          l) The plaintiff had difficulty using the paper towels due to the roll not being located
             within a dispenser. Violation: Elements in the restroom are not readily accessible
             and usable by persons with disabilities, violating 28 CFR 36.211, whose
             resolution is readily achievable.



                                                    5
Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 6 of 10




            m) The plaintiff could not use the lavatory without assistance, as objects are located
               underneath it. Violation: There are lavatories in public restrooms without the
               required knee/toe clearances provided, violating the requirements in Section
               4.19.2 of the ADAAG, 28 CFR 36.211, and Sections 306 & 606.2 of the 2010
               ADA Standards, whose resolution is readily achievable.

            n) The plaintiff could not flush the toilet without assistance, as the flush valve is not
               mounted on the wide area. Violation: The flush valve is not mounted on the
               compliant side in violation of Section 4.16.5 of the ADAAG and Section 604.6 of
               the 2010 ADA Standards, whose resolution is readily achievable.

            o) The plaintiff could not transfer to the toilet without assistance, as the grab bars are
               not the required length. Violation: The grab bars do not comply with the
               requirements prescribed in Section 4.16.4 and Figure 29 of the ADAAG and
               Sections 604.5 and 609 of the 2010 ADA Standards, whose resolution is readily
               achievable.

            p) The plaintiff could not transfer to the toilet without assistance, as objects are
               mounted less than 12” above a grab bar obstructing its use. Violation: The grab
               bars do not comply with the requirements prescribed in Sections 4.16.4 & 4.26 of
               the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is
               readily achievable.

            q) The plaintiff could not use the toilet paper dispenser without assistance, as it is
               not mounted at the required location. Violation: The toilet paper dispenser is not
               mounted in accordance with Section 4.16.6 and Figure 29 of the ADAAG and
               Section 604.7 of the 2010 ADA Standards, whose resolution is readily achievable.

               Maintenance

               Applicable to Defendants’ Sunshine Dade Investments LLC, and Belga
               Enterprises, Inc.

            a) The accessible features of the facility are not maintained, creating barriers to
               access for the Plaintiff, as set forth herein, in violation of 28 CFR 36.211.

 12.    All of the foregoing violations are also violations of the 1991 Americans with Disabilities

        Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design,

        as promulgated by the U.S. Department of Justice.

 13.   The discriminatory violations described in paragraph 11 are not an exclusive list of the



                                                      6
Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 7 of 10




       Defendants ADA violations. Plaintiff requires the inspection of the Defendant’s place of

       public accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

       individuals similarly situated, have been denied access to, and have been denied the

       benefits of services, programs and activities of the Defendants buildings and its facilities,

       and have otherwise been discriminated against and damaged by the Defendants because

       of the Defendant’s ADA violations, as set forth above. The individual Plaintiff, and all

       others similarly situated, will continue to suffer such discrimination, injury and damage

       without the immediate relief provided by the ADA as requested herein. In order to

       remedy this discriminatory situation, the Plaintiff requires an inspection of the

       Defendants place of public accommodation in order to determine all of the areas of non-

       compliance with the Americans with Disabilities Act.

 14.   Defendants have discriminated against the individual by denying him access to full and

       equal enjoyment of the goods, services, facilities, privileges, advantages and/or

       accommodations of their places of public accommodation or commercial facilities in

       violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the

       Defendants continue to discriminate against the Plaintiff, and all those similarly situated

       by failing to make reasonable modifications in policies, practices or procedures, when

       such modifications are necessary to afford all offered goods, services, facilities,

       privileges, advantages or accommodations to individuals with disabilities; and by failing

       to take such efforts that may be necessary to ensure that no individual with a disability is




                                                7
Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 8 of 10




       excluded, denied services, segregated or otherwise treated differently than other

       individuals because of the absence of auxiliary aids and services.

15.    Plaintiff is without adequate remedy at law and is suffering irreparable harm.

       Considering the balance of hardships between the Plaintiff and Defendants, a remedy in

       equity is warranted.    Furthermore, the public interest would not be disserved by a

       permanent injunction. Plaintiff has retained the undersigned counsel and is entitled to

       recover attorney’s fees, costs and litigation expenses from the Defendant pursuant to 42

       U.S.C. § 12205 and 28 CFR 36.505.

 16.   Defendants are required to remove the existing architectural barriers to the physically

        disabled when such removal is readily achievable for its place of public accommodation

        that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there

        has been an alteration to Defendants place of public accommodation since January 26,

        1992, then the Defendants are required to ensure to the maximum extent feasible, that

        the altered portions of the facilities are readily accessible to and useable by individuals

        with disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and

        finally, if the Defendants facilities are ones which were designed and constructed for

        first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the

        Defendant’s facilities must be readily accessible to and useable by individuals with

        disabilities as defined by the ADA.

 17.   Notice to Defendants is not required as a result of the Defendant’s failure to cure the

       violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer




                                                8
Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 9 of 10




       employees and gross receipts of $500,000 or less). All other conditions precedent have

       been met by Plaintiff or waived by the Defendants.

 18.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

       Injunctive Relief, including an order to require the Defendants to alter the shopping plaza

       to make those facilities readily accessible to and useable by the Plaintiff and all other

       persons with disabilities as defined by the ADA; or by closing the facilities until such

       time as the Defendants cures its violations of the ADA.

 WHEREFORE, Plaintiff respectfully requests:

       a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq.

       b.     Injunctive relief against the Defendants including an order to make all readily

              achievable alterations to the facilities; or to make such facilities readily accessible

              to and usable by individuals with disabilities to the extent required by the ADA;

              and to require the Defendants to make reasonable modifications in policies,

              practices or procedures, when such modifications are necessary to afford all

              offered goods, services, facilities, privileges, advantages or accommodations to

              individuals with disabilities; and by failing to take such steps that may be

              necessary to ensure that no individual with a disability is excluded, denied

              services, segregated or otherwise treated differently than other individuals

              because of the absence of auxiliary aids and services.




                                                9
Case 1:21-cv-22270-BB Document 1 Entered on FLSD Docket 06/21/2021 Page 10 of 10




       c.    An Order that shall require the Defendants to maintain the required accessible

             features on an ongoing basis

       d.    An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

       e.    Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.

             Dated: _6-21-21____            Respectfully Submitted,


                                            /s/ John P. Fuller______________
                                            John P. Fuller, Esquire
                                            Florida Bar No. 276847
                                            FULLER, FULLER & ASSOCIATES, P.A.
                                            12000 Biscayne Blvd., Suite 502
                                            North Miami, FL 33181
                                            (305) 891-5199
                                            (305) 893-9505 - Facsimile
                                            jpf@fullerfuller.com

                                            Counsel for Plaintiff, Doug Longhini




                                              10
